                          UNITED STATES BANKRUPTCY COURT
                           WESTERN DISTRICT OF LOUISIANA
                                 LAFAYETTE DIVISION


IN RE:

NEW LOUISIANA HOLDINGS, LLC                                   CASE NO. 14-50756
Et al.                                                        CHAPTER 11

         DEBTORS                                              JOINTLY ADMINISTERED



                NOTICE OF APPOINTMENT OF CREDITORS’ COMMITTEE

         COMES NOW Henry G. Hobbs, Jr., Acting United States Trustee for Region 5, through

the undersigned and pursuant to 11 U.S.C. §§1102(a) and 1102(b)(1), and hereby gives notice

that the following creditors of the above-named debtor(s) are among those holding unsecured

claims and are willing to serve and therefore are appointed to serve as a committee of unsecured

creditors with the powers enumerated in 11 U.S.C. §1103.

         The creditors’ committee members’ names and addresses are listed on Attachment A

which is incorporated and made a part of this notice. A copy of this notice has been sent to each

creditor listed on Attachment A as well as the parties listed on the Certificate of Service.

                                                      Respectfully submitted,

                                                      HENRY G. HOBBS, JR.
                                                      Acting United States Trustee
                                                      Region 5, Judicial Districts
                                                      of Louisiana and Mississippi

                                                      By:/s/ Gail Bowen McCulloch
                                                      GAIL BOWEN McCULLOCH

Gail Bowen McCulloch
Trial Attorney
Office of the United States Trustee
300 Fannin Street, Suite 3196




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Shreveport, Louisiana 71101
Telephone no. (318) 676-3456
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                               ATTACHMENT A

      NAMES AND ADDRESSES OF MEMBERS OF CREDITORS’ COMMITTEE

HEALTHCARE SERVICES GROUP, INC.
Patrick Orr
3220 Tillman Drive
Suite 300
Bensalem, PA 19020
porr@hcsgcorp.com
Phone: (215) 639-4274

MEDLINE INDUSTRIES, INC.
Shane Reed (Chairman)
1 Medline Place
Mundelein, IL 60060
SReed@medline.com
Phone: (847) 643-4103

OMNICARE INC.
Joann Billman
900 Omnicare Center
201 East Fourth Street
Cincinnati, OH 45202
Joann.Billman@omnicare.com
Phone: (513) 719-2703




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